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                                                              of Justice


                                                          United States Attorney
                                                          District of Maryland
                                                          Southern Division


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                                                          May 20, 2010

The Honorable Roger W. Titus
United States District Judge
United States Courthouse
6500 Cherrywood Lane
Greenbelt, Maryland 20770

           Re:        United States v. Paulette Martin, et al.
                      Criminal No. RWT-04-0235

Dear Judge Titus:

        On or about April 15, 2010, the defendant Paulette Martin filed a Motion to Vacate Prior
Forfeiture Orders and Demanding the Return of All Forfeited Property. The court granted the
government’s request to extend the due date for its response to May 20, 2010. At the time of the
government’s request for an extension, government counsel did not realize that the forfeiture
proceedings had not been transcribed. The government promptly ordered transcripts of these
proceedings. However the transcripts have not yet been received. These transcripts will be of
assistance in the preparation of the government’s response and the court’s resolution of the pending
motion.

         For this reason, government counsel respectfully requests an extension to June 21, 2010 to
file its response to the defendant’s motion. Counsel for Paulette Martin has been contacted and
consents to this request.

           Thank you for your consideration of this request.

                                                   Very truly yours,

                                                   Rod J. Rosenstein
                                                   United States Attorney

                                               By:_____________________________
                                                   Deborah A. Johnston
                                                   Assistant United States Attorney
cc: ecf filing
